Case 2:05-cr-20221-BBD Document 11 Filed 07/07/05 Page 1 of 2 Page|D 10

IN THE UNITEI) sTATEs DISTRICT CoURT treas )’Vl/`~@
FoR THE WESTERN DIsTRICT oF TENNESSEE l m _i, 23
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UNITED STATES OF AMERICA

V.

MARK 'I`AYLOR OSCrZOZZI-B

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

 

The defendant has this day notified the Court that he is attempting to obtain private
counsel to represent him in this action. Pursuant to the Speedy Trial Act, as set out in 18
U.S.C. §3161(h)(8)(B)(iv), a defendant may be granted a period of excludable delay while

attempting to obtain private counsel.

It is therefore ORDERED that the time period of 7/&/5 through
7/ /’LO //j\§ be excluded from the time its imposed by the Speedy Trial Act

for trial of this case, while the defendant is attempting to obtain private counsel.

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ARRAIGNMENT IS RESET TO WEDNESDAY., JULY 20. 2005 AT 9.-»3‘0' A. M. BEFORE

MAGISTRATE JUDGE DIANE K. VESCOVO

rhis 03 f'£`day er ada .2005.

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UNITE]) STA'I`ES MAGISTRATE JUDGE

This document entered on ins docket sheet in compliance
with Ru|e 55 and/or SZ{b) F"rJ.CrP on “ f O

UNITED sATE DISTRICT COURT - W"'RNT DISTRCT OFTENNESSEE

   

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This notice confirms a copy of the document docketed as number ll in
case 2:05-CR-20221 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

